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                                                  District of Columbia

Maiker Alejandro Espinoza Escalona; Jackson Manuel
Villa Wilhelm; Jorge Alberto Castillo Cerrano; Janfrank
Berrios Laguna; Alejandro Jose Pulido Castellano;
Josue De Jesus Torcati Sebrian; Walter Estiver Salazar;
Hijran Malik; Ghulam Muhammad; and MD Rayhan.




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                                PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
